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  Ex-Congressman Rivera paid millions to Venezuelan businessman close to Maduro
                                     regime
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Body


Criticized as a hypocrite, former Miami Congressman David Rivera claims his $50 million consulting contract with an oil
company owned by Venezuela's government wasn't meant to defend embattled President Nicolás Maduro but rather to remove
him from power.

However, the Miami Herald has learned that Rivera used some of his income from that contract to pay millions of dollars to a
wealthy Venezuelan businessman closely connected to Maduro in an effort to prevent U.S. sanctions against his socialist
regime.

Rivera, a Miami Republican known for his anti-communist attacks on Cuba, received $15 million from his 2017 contract with
the U.S. subsidiary of Venezuela's state-run oil company before it cut off the lobbying agreement with his business,
Interamerican Consulting, Inc. Towards the end of that year, Rivera diverted about $4 million from his consulting firm to
Venezuelan TV mogul Raúl Gorrín, according to several sources familiar with the payments.

Gorrín, who was also close to Maduro's predecessor, the late President Hugo Chávez, collaborated with Rivera in aiding
Maduro's government to avoid a U.S. crackdown on Venezuela's state-run oil company, PDVSA, and its financial interests in
the United States, those sources said.

In an unrelated corruption case, Gorrín is currently under indictment on bribery and money-laundering charges in Miami
federal court based on allegations that he stole billions of dollars from the Venezuelan government. The feds have seized more
than two dozen luxury real estate properties in Miami and New York from Gorrín, who resides in Venezuela and has been
designated as a fugitive. His defense attorney did not respond to a request for comment Tuesday.

AP971998103676.jpgFormer congressman David Rivera, a Miami Cuban-American Republican embroiled in a scandal over a
$50 million contract with the sanctioned Venezuela state-owned oil company PDVSA, speaks in 2011 about his bid to run for
his old U.S. House seat amid an investigation into campaign finance violations.

Rivera, who has survived both federal and state inquiries into his political career in the past, has been under federal
investigation by the FBI over his Venezuelan government contract since the latter part of 2017. But the U.S. Attorney's Office
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probe, which has focused on Rivera's failure to register as a foreign agent with the Justice Department as well as questions of
bribery, fraud and money laundering, has stalled in recent years for reasons that are unclear.

Over that period, federal authorities in Miami and Houston have prosecuted dozens of Venezuela officials and business
associates on charges of embezzling billions from Venezuela's national oil company and moving their money into the U.S.
banking system and real estate.

With the income from his Venezuelan government contract, Rivera made wire payments from his business, Interamerican
Consulting, to Gorrín through a Miami company, Interglobal Yacht Management LLC, in which Gorrín had a financial interest
before the Venezuelan tycoon was indicted in 2018, according to sources and public records. Interglobal's president declined to
comment Tuesday.

Rivera has insisted that Gorrín was not involved in his consulting firm's contract with PDV USA, Inc., the American subsidiary
controlled by Petróleos de Venezuela, S.A. The contract, which sources say was signed by a PDVSA board member, Guillermo
Blanco, was ostensibly for "strategic consulting services" to improve the reputation of Venezuela's state-owned oil company.
But those sources, who are not authorized to comment on the ongoing federal investigation in Miami, said Rivera's public
statements about his Venezuelan government contract don't square with his actions.

Rivera, 54, did not respond to questions about how he used his income from the PDV USA contract. His defense attorney, Roy
Kahn, said Tuesday he was unaware of any federal investigation into Rivera and his consulting business, adding that he could
only go by what his client has told the news media -- that he used his income from the contract to help the opposition party's
goal to topple Maduro's government.

Rivera not only diverted money to Gorrín, sources said. The one-term congressman also used some income from his
Venezuelan contract to pay about $3.5 million to the consulting business of Esther Nuhfer, a Miami fundraiser who had worked
on Rivera's past political campaigns. Nuhfer then transferred about $2 million of that amount from her business,
Communication Solutions, to her personal bank account, according to the sources. Nuhfer did not respond to requests for
comment.

In the latter part of 2017, Rivera withdrew at least $150,000 from his corporate account with Chase Bank at a variety of
branches in Miami-Dade County, the sources said. Rivera's withdrawals were considered suspicious because he made 15 of
them for $10,000 each to avoid Bank Secrecy Act reporting requirements when transactions exceed that figure. In other words,
he is suspected of structuring those withdrawals so they would fall under the reporting threshold, the sources said.

In addition to his Chase account, Rivera drew the attention of federal investigators when he traveled to Switzerland and Austria
to talk with foreign banks about depositing money there, according to sources. In the past, Rivera has also held bank accounts
in Mexico and Hong Kong, according to financial disclosure forms.

At the time of his contract with PDVSA's subsidiary in the United States, Rivera not only left a trail of bank transactions
involving his consulting company, he also spoke with and texted his close friend, Florida Republican Sen. Marco Rubio, on a
daily basis, sources said. They believe Rivera secured the lobbying agreement with the Venezuelan government because of his
access to Rubio.

Rubio, a fierce critic of Maduro's government, said he was unaware of Rivera's contract with Venezuela's oil subsidiary in the
United States until a breach-of-contract lawsuit was filed against the former congressman's consulting business earlier this
month, according to his office. Rubio, who once shared a Tallahassee townhouse with Rivera when they both served in the
Florida Legislature, also said he never discussed his friend's lobbying efforts on behalf of Venezuela's state-run oil company.

Rivera's contract with the American subsidiary, PDV USA, came to light in May when Venezuela's opposition leader, Juan
Guaidó, authorized the company's Washington, D.C., lawyers to sue Rivera's consulting business in New York federal court for
failing to perform any work under the terms of the agreement. The contract extended from March 21 to June 21 in 2017 for an
astounding amount of consulting fees to be paid over such a short period of time. The contract ostensibly required Rivera to
provide "strategic consulting services" to improve the reputation and standing of PDVSA's interests in the United States, which
include the Houston-based oil producer Citgo.
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However, according to the lawsuit, Rivera wrote only two brief reports and breached his contract with PDV USA, which led to
the cancellation of his contractual relationship with the Venezuela-controlled subsidiary in the United States. The U.S.
subsidiary of PDVSA paid Rivera's consulting company the $15 million between March 21 and April 18, 2017, but nothing
after that period.

What makes Rivera's contract with Venezuela's state-owned oil company so convoluted is that he signed the agreement with
Maduro's government, yet he is being sued by the leader of the opposition party, Guaidó. In January 2019, Guaidó, the
leaderof the National Assembly, was recognized by President Donald Trump as the interim president of Venezuela. At the
same time, the Trump administration imposed sanctions against PDVSA and its subsidiaries, including Citgo.

It is not clear how Rivera landed his contract with the U.S. subsidiary of PDVSA or teamed up with Gorrín, but their objective
was to meet with key members of the Trump administration to persuade them to back off from threatened sanctions against the
Maduro government's main source of revenue, PDVSA, and its oil sales to the United States and Europe.

According to sources familiar with their lobbying efforts, this is how the idea was hatched. In 2017, Venezuelan foreign
minister, Delcy Rodriguez -- now the regime's vice president -- was tasked with finding a diplomatic solution to the growing
tension with the United States. The Trump administration had begun imposing a growing wave of sanctions pushed by Sen.
Rubio, who had taken the lead in denouncing the socialist regime.

Venezuela's opposition leader at the time, Leopoldo López, who was being held at a military prison, saw an opportunity and
sent a message to Rodriguez saying he could help with the lobbying efforts, the sources said.

Rodriguez, who had been desperately seeking a solution, agreed and assigned Gorrín and a group of Citgo executives in
Houston to set up the operation, according to the sources. The goal was to soften Rubio so that he would stop pushing for
sanctions. The parallel goal was to sell the Trump administration on the idea of Maduro exiting from power.

This effort established López's party as the predominant opposition force, paving the way for his protégé, Guaidó, to be
recognized by the Trump administration as the legitimate leader of Venezuela.

In fact, López was released from prison in July in 2017 and placed under house arrest, while Gorrín was working with Rivera
in Washington, D.C., peddling a negotiated exit strategy for Maduro. Gorrín met with Vice President Mike Pence.

The day López was released, his wife, Lilian Tintori, gave thanks publicly to Rodriguez and her brother, former Caracas Mayor
Jorge Jesús Rodríguez, for freeing her husband.

Rivera told the Miami Herald and other news media that none of this would have been possible without his behind-the-scenes
work on behalf of the opposition party, including funneling millions of dollars to its efforts.

But the Gorrín-Rivera deal failed to produce the desired results. Threats of U.S. sanctions continued to intensify. At some
point, the Maduro regime concluded that it had been swindled, leading to the arrest of six Citgo executives in November 2017.

After Rivera's consulting company was sued earlier this month, Guaidó's opposition party condemned the former
congressman's claims that he had been supporting his cause all along to oust Maduro from power.

"Following our lawsuit, the sued congressman has decided to respond with false, bizarre and implausible accusations in which
he intends to divert his responsibility by involving ... Leopoldo López" in a conspiracy with the former directors of Citgo, the
Guaidó interim government said in a statement.

Rivera's version "is not only politically impossible, but also physically impossible given that during that time Leopoldo López
was imprisoned and [held] incommunicado by the dictatorship in the ... military prison," the interim government said.


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